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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION



MICHAEL LEON MCCORD,

             Plaintiff,

v.                                           Case No.: 2:19-cv-00318-JLB-NPM

COMMISSIONER OF SOCIAL
SECURITY,

             Defendant.


                                       ORDER

      Upon consideration of the parties’ responses to this Court’s October 16, 2020

order (Doc. 30), it is ORDERED that:

      1.     Plaintiff’s Objections (Doc. 29) to the Magistrate Judge’s September 16,

2020 Report and Recommendation (Doc. 28) are OVERRULLED without prejudice.

      2.     In the interests of judicial efficiency, the case is STAYED pending the

Eleventh Circuit’s decisions in Perez v. Commissioner of Social Security, Appeal No.

19-11660 (filed Apr. 29, 2019), and Lopez v. Acting Commissioner of the Social

Security Administration, Appeal No. 19-1174 (filed May 3, 2019). The parties are to

advise this Court as soon as they learn that one or both appeals have been decided or

if the Eleventh Circuit rules on the Appointments Clause issue presented in Perez

and Lopez in another appeal.

      3.     The parties shall provide the Court with a joint status report regarding

the Perez and Lopez appeals every 60 days beginning January 8, 2021.
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      4.     The case is ADMINISTRATIVELY CLOSED for the Court’s case

management purposes only, without prejudice to the substantive rights of any of the

parties to this litigation. The Court retains jurisdiction over the case, and any party

may move to reopen the case and lift the stay at the appropriate time. Should no

party move to reopen the case within 90 days from the entry of the mandate in Perez

or Lopez, whichever is later, the Court may dismiss the case without prejudice

without further notice to the parties.

      5.     All pending motions are DENIED as moot. When the Court is notified

that the Perez and Lopez appeals have been decided or the issue presented in those

cases is decided by the Eleventh Circuit, the stay will be promptly lifted; Plaintiffs’

Objections to the Report and Recommendation (Doc. 28) will be re-activated; and

supplemental filings will be invited to address the effect of the Eleventh Circuit’s

disposition of Perez, Lopez, or any other Eleventh Circuit opinion reaching the

Appointments Clause issue presented in Perez and Lopez.

      ORDERED in Fort Myers, Florida, on October 23, 2020.




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